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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                     : Chapter 11
                                                            : Case No. 18-13359 (SHL)
 REPUBLIC METALS REFINING                                   :
 CORPORATION, et al., 1                                     : (Jointly Administered)
                                                            :
                                     Debtors.               :
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             ORDER PURSUANT TO BANKRUPTCY RULE 2004
    AUTHORIZING THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        TO TAKE DISCOVERY OF THE DEBTORS AND THIRD PARTIES

        UPON THE MOTION of the Official Committee of Unsecured Creditors (the

"Committee") of Republic Metals Refining Corporation and its affiliated debtors and debtors-in-

possession (collectively, the "Debtors") for an order authorizing it to take discovery of the

Debtors and third parties pursuant to Bankruptcy Rule 2004 addressing the Debtors'

overstatement of the value of the Debtors' inventory, the inception of the Debtors' insolvency,

constructive fraudulent conveyances during the period of insolvency, and the reliability of the

Debtors' financial records ("Rule 2004 Topics");

        THE COURT, after deliberation, having concluded that the Committee has established a

basis for the relief sought, and no additional notice being required except as specified herein,

now, therefore, it is hereby ORDERED, that:



1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
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       1.      The Committee is authorized to take discovery of the Debtors and relevant third

parties relating to the Rule 2004 Topics, including by serving subpoenas requiring the production

of documents and taking depositions;

       2.      The Committee is authorized to conduct, without further order of this Court,

discovery on additional topics to the extent the Committee deems necessary to conduct the

investigation authorized by Bankruptcy Rule 1103(c);

       3.      This Court retains jurisdiction with respect to all matters arising from or relating

to the implementation of this Order.

 Dated: New York, New York
        December 21, 2018                            /s/ Sean H. Lane
                                                     The Honorable Sean H. Lane
                                                     United States Bankruptcy Judge




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